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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
                                                      271 Cadman Plaza East
                                                      Brooklyn, New York 11201

                                                      February 2, 2023
 BY ECF
 Honorable Nina R. Morrison
 United States District Judge
 United States Courthouse
 225 Cadman Plaza East
 Brooklyn, NY 11201

                Re:     United States of America v. Rare Breed Triggers, LLC, et al.,
                        No. 23-CV-369 (Morrison, J.) (Levy, M.J.)

 Dear Judge Morrison:
        In advance of this afternoon’s status conference, the United States respectfully writes the
 Court to set forth its position regarding the proposed briefing schedule for the United States’
 motion for preliminary injunction.
         In Defendants’ Response to Order to Show Cause and Status Report, dated February 1,
 2023, Defendants note that the parties “have agreed, in principle, to an extension of the existing
 TRO and further briefing schedule for the Government’s request for a preliminary injunction.”
 See Dkt. No. 15 at 1. Defendants requested that the Court “set a March 15, 2023[] deadline for
 Defendants to respond to the Government motion for a preliminary injunction (ECF No. 5), a
 March 27, 2023[] deadline for the Government to file a reply, and hold a hearing on the preliminary
 injunction on April 10, 2023, or as soon as this Court’s schedule allows following briefing.” Dkt.
 No. 15 at 2. Defendants add that they “will not object to an extension of this Court’s existing TRO
 (ECF No. 11), consistent with this proposed schedule,” and further, that “[t]he Government asks
 that expedited discovery, including depositions, be substantially completed before Defendants
 submit their opposition to the United States' motion.” Dkt. No. 15 at 2.
         As noted in Defendants’ Response, the parties agree to the existing TRO staying in place
 until the Court decides the United States’ motion for a preliminary injunction. The United States
 is also prepared to agree to Defendants’ proposed briefing and hearing schedule provided that the
 United States be permitted to obtain expedited discovery from Defendants prior to March 15,
 2023—the date Defendants propose to file their opposition to the United States’ motion. While
 the United States will, of course, confer with Defendants regarding the scope of that discovery and
 will aim to avoid any unnecessary discovery litigation, the United States intends only to propound
 discovery that would be proportionate to the needs of its motion for preliminary injunction.
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       The United States thanks the Court for its consideration of this matter.

                                                     Respectfully submitted,

                                                     BREON PEACE
                                                     United States Attorney

                                                            /s/
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